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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)



                          NOTICE OF RESCHEDULED HEARING DATE

         PLEASE TAKE NOTICE that the hearing scheduled for October 19, 2023 at 10:00 a.m.

(ET) has been rescheduled at the request of the Court to October 24, 2023 at 10:00 a.m. (ET)

before the Honorable John T. Dorsey at the United States Bankruptcy Court for the District of

Delaware, located at 824 North Market Street, 5th Floor, Courtroom No. 5, Wilmington, Delaware

19801.

         PLEASE TAKE FURTHER NOTICE that this hearing will be conducted in person. In

accordance with the Chambers Procedures for Judge John T. Dorsey, dated August 21, 2023 (the

“Chambers Procedures”), all parties, including witnesses, are expected to attend in person unless

permitted to appear via zoom by the Court. Chambers Procedures at A(4).




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.


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Dated: October 17, 2023                        LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                               /s/ Matthew R. Pierce
                                               Adam G. Landis (No. 3407)
                                               Kimberly A. Brown (No. 5138)
                                               Matthew R. Pierce (No. 5946)
                                               919 Market Street, Suite 1800
                                               Wilmington, Delaware 19801
                                               Telephone: (302) 467-4400
                                               Facsimile: (302) 467-4450
                                               E-mail: landis@lrclaw.com
                                                       brown@lrclaw.com
                                                       pierce@lrclaw.com

                                               -and-

                                               SULLIVAN & CROMWELL LLP
                                               Andrew G. Dietderich (admitted pro hac vice)
                                               James L. Bromley (admitted pro hac vice)
                                               Brian D. Glueckstein (admitted pro hac vice)
                                               Alexa J. Kranzley (admitted pro hac vice)
                                               125 Broad Street
                                               New York, NY 10004
                                               Telephone: (212) 558-4000
                                               Facsimile: (212) 558-3588
                                               E-mail: dietdericha@sullcrom.com
                                                       bromleyj@sullcrom.com
                                                       gluecksteinb@sullcrom.com
                                                       kranzleya@sullcrom.com

                                               Counsel for the Debtors and Debtors-in-
                                               Possession




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